Case 3:18-cv-00053-RGJ-RSE Document 41 Filed 11/09/18 Page 1 of 1 PageID #: 439




                                 UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF KENTUCKY
                                      LOUISVILLE DIVISION
                                CIVIL ACTION NO. 3:18CV-00053-RGJ

 CALEB ELMORE                                                                                        PLAINTIFF


 VS.


 BELLARMINE UNIVERSITY                                                                             DEFENDANT

                                                     ORDER

            A telephonic status conference was conducted in this action on November 8, 2018, at 1:30

 PM, with Joshua Adam Engel and Anne L. Tamashasky appearing on behalf of the Plaintiff and

 Nelva J. Smith and John Kevin West appearing on behalf of the Defendant. The conference was

 held to determine whether Defendant Bellarmine was interested in participating in an already-

 scheduled settlement conference in a case with some overlapping parties and issues, Barrios v.

 Elmore, 3:18cv-00132-DJH. Bellarmine stated they are interested in participating in the settlement

 conference.1 A separate order will issue as to the settlement conference scheduled for January 3,

 2019, at 3:00 PM.




                                                                            November 9, 2018



 Copies:           Counsel of Record

     0|10



 1
  Bellarmine also indicated that an insurance adjuster may need to participate in the settlement conference by phone.
 This Court anticipates having ex parte communications with the parties to discuss that issue before the settlement
 conference.
